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CLERK, U.S. INT COURT

 

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, Case No. 8:20 MJ 00660-1
Plaintiff,
ORDER OF DETENTION
V.
JAMES MACDOUGALL,
Defendant.

 

 

 

On September 25, 2020 , Defendant made his initial appearance on the
complaint filed in this matter. Deputy Federal Public Defender Anuj Nadadur was

appointed to represent Defendant. A detention hearing was held.

 
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oO SND HW SF W YY KY OD OO WAT DA Ww B&B WwW NY KF OO

 

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CL] On motion of the Government [18 U.S.C. § 3142(f)(1)] in a case
allegedly involving a narcotics or controlled substance offense with maximum
sentence of ten or more years.

On motion by the Government or on the Court’s own motion
[18 U.S.C. § 3142(£)(2)] in a case allegedly involving a serious risk that the
defendant will flee.

The Court concludes that the Government is entitled to a rebuttable
presumption that no condition or combination of conditions will reasonably assure
the defendant’s appearance as required and the safety or any person or the
community [18 U.S.C. § 3142(e)(2)].

The Court finds that no condition or combination of conditions will
reasonably assure: L] the appearance of the defendant as required.

the safety of any person or the community.

The Court has considered: (a) the nature and circumstances of the offense(s)
charged, including whether the offense is a crime of violence, a Federal crime of
terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
or destructive device; (b) the weight of evidence against the defendant; (c) the
history and characteristics of the defendant; and (d) the nature and seriousness of
the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also
considered all the evidence adduced at the hearing, the arguments of counsel, and
the report and recommendation of the U.S. Pretrial Services Agency.

The Court bases its conclusions as to danger to the community on the
following:

Allegations in the complaint that Defendant sold approximately
two grams of methamphetamine on August 19, 2020 and over 30 grams of
methamphetamine on August 26, 2020; that on September 24, 2020, he was
prepared to sell methamphetamine and in the car driven by Defendant, law

enforcement found over 50 grams of methamphetamine, drug paraphernalia, a

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oO wa aya HD NH FP W NO

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digital scale, and a postal service envelope containing two grams of
methamphetamine addressed to an address in Los Angeles, and in a search of
defendant’s bedroom law enforcement found drug paraphernalia, digital scales, and
baggies.

Xx Defendant was arrested on June 14, 2020, and an arrest June 26,
2020 for possession of narcotic controlled substance for sale. Both cases were
pending at the time he allegedly engaged in the narcotics sales described in the
Complaint.

<} Defendant has a history of substance abuse.

The presumption of dangerousness is unrebutted.

IT IS THEREFORE ORDERED that the defendant be detained until trial.

The defendant will be committed to the custody of the Attorney General for
confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal.
The defendant will be afforded reasonable opportunity for private consultation
with counsel. On order of a Court of the United States or on request of any
attorney for the Government, the person in charge of the corrections facility in
which defendant is confined will deliver the defendant to a United States Marshal
for the purpose of an appearance in connection with a court proceeding.

[18 U.S.C. § 3142()]

Dated: September 25, 2020 PATRICIA DONAHUE

PATRICIA DONAHUE
UNITED STATES MAGISTRATE JUDGE

 

 
